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                       1IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                            MOTION FOR PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion for Permission to Travel to the Middle

District of Florida for business opportunities, and states:

       Mr. Stone seeks permission to travel to Sarasota, Florida, from May 13, 2019 to May 14,

2019 and to Naples, Florida, from May 22, 2019 to May 23, 2019. Counsel has communicated

with Mr. Stone’s Pretrial Services Officer who has stated Pretrial Services has no objection to the

filing of this motion and requested their office be kept advised of the Court’s ruling.

       Mr. Stone will provide Pretrial Services with complete itineraries prior to his departures

and contact his Officer upon his return.

       The Government has been provided a copy of this Motion and has no objection to the relief

sought. Mr. Stone respectfully requests that this Court grant this motion for permission to travel

and allow Mr. Stone to travel to the Middle District of Florida during the dates outlined above.




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                                       Respectfully submitted,

By: /s/ Robert C. Bushel               By: /s/Bruce S. Rogow
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By: /s/ L. Peter Farkas                GRANT J. SMITH
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on April ____, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

     United States Attorney’s Office for the           United States Department of Justice
             District of Columbia                           Special Counsel’s Office

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          Pretrial Services (via email)

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                                                    By: /s/ Robert C. Bushel
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